      Case 3:18-cv-00772-SDD-EWD             Document 214       06/23/20 Page 1 of 54




                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

 STEPHEN M. GRUVER and RAE ANN GRUVER,
 individually and on behalf of
 MAXWELL R. GRUVER, deceased,

                Plaintiffs,

 v.                                                           No. 3:18-cv-00772-SDD-EWD

 STATE OF LOUISIANA THROUGH THE BOARD OF
 SUPERVISORS OF LOUISIANA STATE
 UNIVERSITY AND AGRICULTURAL AND
 MECHANICAL COLLEGE; RYAN M. ISTO; SEAN
 PAUL GOTT; ZACHARY T. HALL; DALTIN W.
 BABINEAUX; MICHAEL C. COMEAUX, JR; PHILIP
 CLARK; LUKE ST. GERMAIN; HAIDER LAGHARI;
 SEAN A. PENNISON; ALLSTATE INSURANCE
 COMPANY OF CANADA, INC., a foreign corporation;
 and JOHN DOES 1-10,

                Defendants.

                SECOND AMENDED COMPLAINT AND JURY DEMAND

       Plaintiffs, STEPHEN M. GRUVER and RAE ANN GRUVER, individually and on

behalf of MAXWELL R. GRUVER, deceased, through their attorneys, The Fierberg National

Law Group, PLLC, and Cazayoux Ewing Law Firm, for their Second Amended Complaint

against Defendants state:

                                      INTRODUCTION

       1.      On August 21, 2017, a self-described “Concerned Parent” emailed the Office of

Greek Life at Louisiana State University (“LSU”) to report:

       The Sigma Nu pledge class was made to drink alcohol at the Sigma Nu house
       until each pledge member vomited. This occurred on boys bid night, August 20th,
       2017. I was made aware of this yesterday, when a mother of a pledge (who has
       dropped out because of this) shared this information with me. As a parent of a
       pledge of another fraternity, I am very angry that this has occurred and I know
       that it will likely continue. I do not want to hear that someone’s son is dead due
       Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 2 of 54




       to alcohol poisoning, and I expect someone to investigate this incident ASAP and
       put an end to hazing at LSU.

       2.      LSU’s Greek Accountability team “decided there was not enough information to

investigate the case,” and closed its file on the incident. LSU’s failure to even investigate this

parent’s ominous warning reflects its long-standing deliberate indifference to the hazing of male

students in its fraternities, despite the severe, pervasive risks of serious injuries and death those

students face when they seek educational benefits and opportunities through LSU Greek Life.

       3.      Less than ten days after LSU closed its file on the incident, 18-year-old LSU

freshman and fraternity pledge Maxwell Gruver (“Max”) died from alcohol poisoning as a result

of being hazed by his LSU-recognized fraternity. Max was the beloved oldest son of Stephen

and Rae Ann Gruver and older brother to Alex and Lily Kate.

       4.      On the night of September 13, 2017, Max and other fraternity pledges were

summoned to the local fraternity house of Phi Delta Theta Fraternity (“Phi Delt”). Fraternity

members confiscated the pledges’ cell phones, marched them single file up the stairs, covered

them with mustard and hot sauce, and quizzed them during a hazing ritual known as “Bible

Study.” When pledges answered questions incorrectly, fraternity members ordered them to take

a “pull” (a three to five second chug) from a bottle of Diesel, 190-proof liquor.

       5.      Max was singled out for particularly harsh treatment by the fraternity members.

While most pledges were compelled to take three or four pulls during Bible Study, Max was

ordered to take at least 10 to 12 pulls.

       6.      By 11:30 p.m., Max was incapacitated and in visible need of emergency medical

or other responsible care. Yet, fraternity members left Max, unconscious, on a couch. Hours

passed. At around 9:00 a.m. on September 14, 2017, fraternity members found Max

unresponsive. Again, emergency assistance was not called, and any other responsible care was


                                                   2
       Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 3 of 54




withheld. Fraternity members summoned fraternity pledges to the fraternity house and told the

pledges to take Max to the hospital and to lie and tell hospital staff they had found Max in his

dorm room. Max was pronounced dead at the hospital. His blood alcohol content was 0.495

when measured at his autopsy one-and-a-half days later.

       7.      LSU has a long tradition of recognizing and expending significant resources to

promote Greek Life as a valuable educational opportunity and benefit to its students. In pages

and pages of written materials and multiple web-based communications provided to students and

their families, LSU states as fact only positive, promotional information about Greek life, such

as: “Greek Life can foster the education of the whole person: intellectually, socially and

spiritually.” LSU chooses not to publicize, report, or otherwise disclose numerous documented

incidents of dangerous hazing and misconduct of fraternities at LSU, rendering its extolling

representations about LSU Greek Life for male students false and misleading.

       8.      LSU chooses to leave its prospective and current male students, as well as the

university community as a whole, ignorant of the specific risks Greek Life uniquely poses to

male students when they are rushing, pledging, or participating as active members of LSU

fraternities. LSU goes so far as to dissuade male students from considering the real risks known

to LSU and its staff, deceptively stating: “Hazing and inappropriate behavior are not tolerated by

LSU, and today’s college student may experience Greek life for the reasons intended, not the

stereotypical organizations portrayed on television.”

       9.      In fact, the reality at LSU is that male students like Max face the risk of serious

injury and death when they seek educational benefits and opportunities offered through LSU’s

Greek letter fraternity system, and the risk to male students at LSU is likely far worse than the

television portrayals LSU references. Before Max’s death, male students pledging LSU-



                                                 3
       Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 4 of 54




recognized fraternities have died, been hospitalized on an emergency basis for dangerous alcohol

consumption, and suffered broken ribs, cigarette burns and other serious physical injuries.

       10.     Of the 27 fraternities on LSU’s campus, which restrict membership to male

students, only four were without risk-management violations in the five years preceding Max’s

death. That statistic likely underreports the actual risk-management violations occurring at LSU-

recognized fraternities because LSU permits its fraternities to investigate themselves when

potential violations are reported to LSU. Nonetheless, during those five years, there were at least

24 formal hazing investigations involving fraternities, 20 of which led to findings of policy

violations.

       11.     Unlike LSU fraternities, LSU sororities, which restrict membership to female

students, do not have a culture or long-documented history of dangerous hazing and misconduct.

Upon information and belief, when LSU has received reports of hazing at its sororities, the

sanctions LSU has imposed on the sororities have been significantly greater in length and degree

than sanctions LSU generally imposes on fraternities for comparable misconduct.

       12.     Upon information and belief, LSU responds aggressively to allegations of hazing

at sororities, yet with deliberate indifference to allegations of hazing at fraternities, because of

long-held and outdated gender stereotypes about young men, in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”). Upon information and

belief, because of those stereotypes, although LSU treats the hazing of females as unacceptable,

it minimizes the hazing of males as “boys being boys” engaging in masculine rites of passage.

       13.     As a result of LSU’s policy and practice of responding differently to the hazing of

male students than the hazing of female students, hazing of female students seeking valuable




                                                   4
       Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 5 of 54




educational opportunities and benefits through LSU Greek Life is virtually nonexistent, while the

hazing of male students seeking those same opportunities and benefits is rampant.

       14.     LSU has refused to timely and accurately report information about these long-

known risks and dangers, leaving male students like Max seeking educational opportunities and

benefits through LSU Greek Life uniquely vulnerable to hazing, and it has refused to make

material changes to its policies and practices to significantly lessen those risks.

       15.     Further, through its policy and practice of treating hazing of male students less

seriously than hazing of female students, LSU has unlawfully persisted in a systematic,

intentional, differential treatment of, and therefore discrimination against, male students seeking

the educational opportunities and benefits of LSU Greek Life touted by LSU.

       16.     Phi Delt, for its part, also has a long history of dangerous misconduct at

universities across the country, which it chooses to omit from the promotional materials it uses to

encourage students to join, including Max, and its chapter at LSU was no exception.

       17.     In the years preceding Max’s death, LSU received so many credible complaints of

hazing and dangerous compelled consumption of alcohol against Phi Delt’s LSU chapter that, in

2016, the Director of LSU’s Office of Greek Life “begged for assistance” from Phi Delt’s

national headquarters in addressing the misconduct.

       18.     Despite this plea, time and time again, Phi Delt failed to effectively intervene to

address credible allegations of hazing and other misconduct at its LSU chapter.

       19.     LSU knew that Phi Delt’s national headquarters was not responding appropriately

to allegations of hazing and other misconduct at the local chapter, yet it continued to allow the

chapter to investigate itself for alleged hazing violations and permitted Phi Delt, up until Max’s




                                                  5
       Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 6 of 54




death, to continue recruiting male students to join their fraternity, which enjoyed official

recognition by LSU.

       20.     LSU also decided against publicly conveying information about credible

complaints of hazing and compelled alcohol consumption at Phi Delt in the years prior to Max’s

death as part of the glowing promotional package and information LSU gave to students and

their families to encourage them to join Greek Life as part of LSU’s educational opportunities

and benefits. Max and his family attended incoming student orientation at LSU, and they

researched and relied on the information made available by LSU about LSU Greek Life before

Max chose to pledge Phi Delt because of its purported values.

       21.     Had LSU or Phi Delt acted reasonably to address the ongoing hazing at Phi Delt’s

LSU chapter, or had Max and his family been fully and fairly advised of the severe and pervasive

risks of serious injuries and death faced by male students seeking educational benefits and

opportunities through LSU Greek Life and/or the long history of dangerous misconduct at Phi

Delt chapters across the country, including Phi Delt’s LSU chapter, Max would not have pledged

Phi Delt or been subjected to the hazing which caused his death.

       22.     This action seeks to hold LSU accountable for the real and dangerous

consequences of discriminating against male students seeking educational opportunities and

benefits through LSU Greek Life, in violation of Title IX, and to hold all Defendants responsible

for the tortious and negligent misconduct which harmed Max and caused his wrongful death.

                                             PARTIES

       23.     Plaintiffs Stephen M. Gruver and Rae Ann Gruver are of full age of majority, are

domiciled in Fulton County, Georgia, and are citizens of the State of Georgia.




                                                  6
       Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 7 of 54




       24.     Plaintiffs are the natural father and mother, respectively, of Maxwell Gruver,

deceased.

       25.     Max, born on January 27, 1999, was never married, and he did not have any

children, natural or adopted. He has two younger siblings. He was a 2017 graduate of Blessed

Trinity Catholic High School in Roswell, Georgia, where he excelled academically and was a

published journalist, planning to pursue a career in political journalism.

       26.     Max was an 18-year-old freshman at LSU when he died from the negligence,

fault, other wrongful conduct, offenses, and/or quasi-offenses sued upon herein.

       27.     As the surviving parents of Max, Plaintiffs have the right to bring survival claims

for injuries caused to Max, as described herein, pursuant to LA. Civ. Code art. 2315.1 and

federal common law, and wrongful death claims to recover damages sustained as a result of

Max’s death, pursuant to LA. Civ. Code art. 2315.2 and federal common law.

       28.     Defendant Board of Supervisors of Louisiana State University and Agricultural

and Mechanical College (the “Board,” “Defendant Board” or “LSU”) is a public constitutional

corporation organized and existing under the laws of the State of Louisiana to operate, manage,

and control the LSU public university system, including its campus in Baton Rouge, with its

principal place of business located at 3810 West Lakeshore Drive, Baton Rouge, Louisiana

70808. LSU is a recipient of federal funds within the meaning of 20 U.S.C. § 1681(a).

       29.     Defendant Ryan M. Isto is of full age and majority and, upon information and

belief, was a citizen of the State of Montana residing, at all relevant times, in East Baton Rouge

Parish, Louisiana. Defendant Isto at all relevant times was a student of LSU and a member of

Phi Delt and the Louisiana Beta Chapter of Phi Delta Theta (hereinafter, “Louisiana Beta” or

“Chapter”).



                                                 7
        Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 8 of 54




        30.    Defendant Allstate Insurance Company of Canada, Inc. (“Allstate”), is a foreign

corporation, incorporated under the laws of Canada, and having its principal place of business in

Markham, Ontario, Canada. Defendant Allstate issued a VIP Homeowner’s Policy, Policy No.

151409848, that provided coverage to Defendant Isto, as an insured under the policy, for legal

liability arising out of his personal actions anywhere in the world. The VIP Homeowner’s

Policy covers all acts of negligence by Defendant Isto alleged herein, and the VIP Homeowner’s

Policy was in full force and effect at all relevant times herein. Defendant Allstate is named as a

Defendant pursuant to the Louisiana Direct Action Statute, La. Rev. Stat. § 22:1269. As an

insurer for Defendant Isto, Allstate is liable to Plaintiffs jointly and in solido with Defendant

Isto.

        31.    Defendant Sean Paul Gott is of full age and majority and, at all relevant times,

was a citizen of the State of Louisiana, domiciled in Lafayette Parish, Louisiana, and residing in

East Baton Rouge Parish, Louisiana. Defendant Gott at all relevant times was a student of LSU

and a member of Phi Delt and Louisiana Beta.

        32.    Defendant Zachary T. Hall is of full age and majority and, at all relevant times,

was a citizen of the State of North Carolina, domiciled in Mecklenburg County, North Carolina,

and residing in East Baton Rouge Parish, Louisiana. Defendant Hall at all relevant times was a

student of LSU and a member of Phi Delt and Louisiana Beta.

        33.    Defendant Daltin W. Babineaux is of full age of majority and, at all relevant

times, was a citizen of the State of Louisiana, domiciled in Calcasieu Parish, Louisiana, and

residing in East Baton Rouge Parish, Louisiana. Defendant Babineaux at all relevant times was a

student of LSU, a member of Phi Delt, and a member and Executive Board member of Louisiana

Beta, serving as the Chapter President of Louisiana Beta in the Fall of 2017.



                                                  8
       Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 9 of 54




       34.     Defendant Philip Clark is of full age of majority and, at all relevant times, was a

citizen of the State of Tennessee, domiciled in Davidson County, Tennessee, and residing in East

Baton Rouge Parish, Louisiana. Defendant Clark at all relevant times was a student of LSU, a

member of Phi Delt, and a member and Executive Board member of Louisiana Beta, serving as

the Chapter Pledge Educator in the Fall of 2017.

       35.     Defendant Michael C. Comeaux, Jr., is of full age of majority and, at all relevant

times, was a citizen of the State of Louisiana, and was domiciled and residing in East Baton

Rouge Parish, Louisiana. Defendant Comeaux at all relevant times was a student of LSU, a

member of Phi Delt, and a member and Executive Board member of Louisiana Beta, serving as

the Chapter Vice President in the Fall of 2017.

       36.     Defendant Luke St. Germain is of full age of majority and, at all relevant times,

was a citizen of the State of Louisiana, domiciled in Jefferson Parish, Louisiana, and residing in

East Baton Rouge Parish, Louisiana. Defendant St. Germain at all relevant times was a student

of LSU, a member of Phi Delt, and a member and Executive Board member of Louisiana Beta,

serving as the Treasurer of Louisiana Beta in the Fall of 2017.

       37.     Defendant Haider Laghari is of full age of majority and, at all relevant times, was

a citizen of the State of Louisiana, domiciled in Webster Parish, Louisiana, and residing in East

Baton Rouge Parish, Louisiana. Defendant Laghari at all relevant times was a student of LSU, a

member of Phi Delt, and a member and Executive Board member of Louisiana Beta, serving as

the Secretary of Louisiana Beta in the Fall of 2017.

       38.     Defendant Sean A. Pennison is of full age of majority and, at all relevant times,

was a citizen of the State of Louisiana, domiciled in St. Tammany Parish, Louisiana, and




                                                  9
      Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 10 of 54




residing in East Baton Rouge Parish, Louisiana. Defendant Pennison at all relevant times was a

student of LSU and a member of Phi Delt in the Fall of 2017.

       39.     Any remaining Defendants John Doe 1-10 were, at all relevant times, students at

LSU and members of Phi Delt and Louisiana Beta. Defendants Doe were present for and

participated in, gave material support to, knew or should have known, authorized, encouraged,

and/or permitted the hazing and misconduct described herein that harmed and imperiled Max,

and they failed to obtain or provide the assistance that would have saved Max’s life. At all

relevant times, Defendants Doe knew or should have known that participating in, giving material

support to, authorizing, encouraging, and/or permitting the hazing and misconduct that harmed

and imperiled Max, as well as their failure to obtain or provide the assistance that would have

saved Max’s life, created an unreasonable and reasonably foreseeable risk of harm, damage and

injury to Max. Despite such knowledge, Defendant Does did not alter their behavior to avoid the

unreasonable and reasonably foreseeable risk of harm, damage, and injury to Max.

       40.     Defendants Isto, Gott, Hall, Babineaux, Clark, Comeaux, St. Germain, Laghari,

Pennison, and Doe are collectively referred to herein as “Individual Defendants.”

                                JURISDICTION AND VENUE

       41.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331, because this litigation involves claims arising under Title IX of the Education

Amendments of 1972, 20 U.S.C § 1681, et seq.

       42.     This Court has supplemental jurisdiction over the state law claims alleged herein

pursuant to 28 U.S.C. § 1367, as they are so related to Plaintiffs’ claims made under Title IX, 20

U.S.C. § 1681, et seq., that they form part of the same case or controversy under Article III of the

United States Constitution.



                                                10
      Case 3:18-cv-00772-SDD-EWD               Document 214      06/23/20 Page 11 of 54




       43.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because a

substantial part of the events and omissions giving rise to this case and the damages sustained by

Plaintiffs occurred in East Baton Rouge Parish, Louisiana, which is part of the United States

District Court for the Middle District of Louisiana.

                                  FACTUAL ALLEGATIONS

                  Maxwell Gruver’s Tragically Short-Lived Attendance at LSU

       44.     Max applied to LSU in the fall of 2016. LSU extended Max an offer of admission

shortly after he applied, and in February 2017, he formally accepted the offer to enroll in LSU.

       45.     In or around the summer of 2017, Max, like all other incoming LSU students, was

sent a 72-page color book, Greek Tiger, by LSU in which LSU “encourage[s] [new students] to

consider participating in fraternity or sorority recruitment.”

       46.     The second paragraph of the Greek Tiger provides: “Hazing and inappropriate

behavior are not tolerated by LSU, and today’s college student may experience Greek life for the

reasons intended, not the stereotypical organizations portrayed on television.” According to

LSU, “[a]s Greek life prepares young adults for life, membership is an investment in [their]

future.”

       47.     LSU promotes Phi Delt in the Greek Tiger by stating, inter alia, “Phi Delta Theta

allows each of its members to ‘become the greatest version of himself.’”

       48.     Nowhere in the Greek Tiger, web communications, or personal presentations to

students and parents by LSU staff does LSU provide male students or their families with timely,

accurate, and meaningful information about known risks to male students from hazing, self-

governance, illegal drug use, alcohol abuse, and other dangerous conduct within LSU-recognized

fraternities, including within Phi Delt.



                                                 11
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 12 of 54




        49.     After significant research of materials provided and made available online by

LSU and Phi Delt, and discussion with his parents who reviewed the materials, Max sought to

join a fraternity with his parents’ blessing, and specifically sought to join Phi Delt. Upon

arriving at LSU in late August 2017, Max rushed and accepted a bid to pledge Phi Delt.

        50.     Phi Delt recruited new undergraduate members, specifically and exclusively male

students, at LSU through its local authorized chapter, Louisiana Beta; pledges and members paid

dues and fees to Phi Delt and conveyed other valuable benefits to Phi Delt.

        51.     Phi Delt, like other national fraternities, knowingly permitted its name,

trademarks, traditions, lore, and reputation to be advertised on LSU’s website, which promotes

the fraternity, fraternity membership, and associated Greek Life as valuable educational

opportunities and benefits at LSU. LSU does this without identifying known incidents of hazing,

injury, death, and risk-management violations that have occurred at Phi Delt’s chapter at LSU or

its chapters at other universities.

        52.     On the night of September 13, 2017, Max and his fellow Phi Delt pledges were

summoned to the Phi Delt fraternity house. Defendant Gott called and sent out a GroupMe

message to the pledges telling them to be at the house at 9:30 for “Bible Study @ 10:00.”

        53.     Before sending out the GroupMe message, Defendant Gott conferred with, and

sought advice from, Defendant Laghari, who was a member of the Executive Board of Louisiana

Beta, to determine the date, time, and location of the Bible Study ritual.

        54.     The Bible Study ritual, like many other fraternity rituals, involved the provision

and compelled excessive consumption of alcohol by pledges, all of whom were under the lawful

drinking age in the State of Louisiana, and many of whom had been rendered dangerously




                                                 12
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 13 of 54




intoxicated and injured, including in the semesters immediately preceding the death of Max

Gruver.

       55.     When the 20 or so pledges arrived at the Phi Delt fraternity house on September

13, 2017, fraternity members confiscated their cell phones, and the pledges each were instructed

to get a cup of lemonade, which they would later learn was to be used as a chaser for almost pure

alcohol.

       56.     Phi Delt and Louisiana Beta member Matthew Naquin (“Naquin”) and

Defendants Gott and Isto came down from the second floor of the fraternity house to greet the

pledges. Naquin yelled, “Are you ready for Bible Study? Y’all better do well; I’m already

fucked up.”

       57.     Naquin, Forde and Defendants Isto and Gott then shepherded the pledges up the

stairs of the two-story Phi Delt fraternity house in a single file line as Defendant Gott covered the

pledges in mustard and hot sauce.

       58.     Once upstairs, the fraternity members told the pledges to stand in the hallway with

their noses and toes against the wall. There was loud music blaring and the only light was a

pulsating strobe light.

       59.     Although security cameras were installed inside and outside the Phi Delt

fraternity house at the direction of Beta House Corporation, the security cameras were not

properly maintained and were purportedly not operational on the evening of September 13, 2017.

       60.     “Bible Study” was a test of the pledges’ knowledge of fraternity history and the

Greek alphabet. Pledges were singled out to answer questions, and if they answered incorrectly,

they were compelled to take a pull – a three to five second chug – directly from a bottle of

Diesel, 190-proof alcohol.



                                                 13
      Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 14 of 54




       61.     Upon information and belief, Defendant Gott brought at least one of the bottles of

Diesel to Bible Study to use in the hazing ritual.

       62.     During Bible Study, fraternity members targeted Max because, upon information

and belief, he had previously arrived late to pledge activities and/or because he had complained

to the pledge master of his pledge class about a hazing incident in which Phi Delt and Louisiana

Beta Member Hudson Kirkpatrick (“Kirkpatrick”) made Max use a friend’s car to pick up

Kirkpatrick and two friends, who Max was led by Kirkpatrick to believe were Phi Delt members,

and to then buy them approximately $60 worth of cigarettes.

       63.     The week prior to Bible Study, Naquin had suggested to the fraternity members

that they cut Max from the pledging process altogether.

       64.     On September 11, 2017, two days before Bible Study, the Executive Board of

Louisiana Beta, including Defendants Babineaux, Clark, Comeaux, St. Germain, and Laghari,

met to discuss how Naquin’s ongoing actions with the pledges were extreme and dangerous.

       65.     As Executive Board members of Louisiana Beta, Defendants Babineaux, Clark,

Comeaux, St. Germain, and Laghari had positions of authority within Louisiana Beta, and each

of them had agreed to abide by, enforce, and uphold Phi Delt’s and Louisiana Beta’s purported

prohibitions on hazing, misuse and abuse of alcohol, and other related misconduct, including Phi

Delt’s Risk Management Policies.

       66.     At all relevant times, Phi Delt’s Risk Management Policies, which were intended

to provide education and guidance to chapter officers in performing their responsibilities, stated

that “[i]t is not in conformity with Phi Delta Theta expectations that any member or Phikeia [i.e.,

pledge] would engage in abusive behavior against anyone.”

       67.     Phi Delt’s Risk Management Polices also expressly prohibited hazing and the



                                                 14
      Case 3:18-cv-00772-SDD-EWD            Document 214        06/23/20 Page 15 of 54




misuse of alcohol and drugs, and mandated alcohol-free fraternity housing. At all relevant times,

Phi Delt’s Risk Management polices stated, in pertinent part:

               All chapter facilities and properties in Phi Delta Theta Fraternity
              shall be alcohol-free at all times and under all circumstances … No
              Chapter of Phi Delta Theta may purchase alcoholic beverages with
              Fraternity funds, nor may any member or Phikeia in the name of or
              on behalf of the chapter coordinate the collections of any funds for
              such a purchase.

                                             *****

              No chapter or member of Phi Delta Theta shall indulge in any
              physical abuse or undignified treatment (hazing). Hazing is defined
              as: “any action taken or situation created, intentionally or
              unintentionally, whether on or off Fraternity premises, and whether
              with or without the consent of the persons subjected to the action,
              which produces mental or physical discomfort, embarrassment,
              harassment, or ridicule.”

        68.   Defendant Clark was alarmed by what he heard about Naquin’s actions toward the

pledges, and he was concerned for the pledges’ safety. He knew something was going to happen

that was not going to be good, no matter what, if Naquin’s behavior continued. Defendant Clark

also knew that Naquin wanted to cut Max from the pledge class, because at a chapter meeting

Naquin told the other fraternity members that he did not like Max.

        69.   The Executive Board members, including the Individual Defendants identified as

Executive Board members herein, agreed to address the issue at a Louisiana Beta chapter

meeting later that day and discussed imposing penalties on Naquin if his conduct and actions

toward the pledges continued, including possible suspension, fines, or expulsion from the

fraternity.

        70.    Later, on September 11, 2017, during the Louisiana Beta chapter meeting, the

Executive Board of Louisiana Beta, including the Individual Defendants identified as Executive

Board members herein, warned Naquin that his ongoing actions with the pledges were extreme


                                               15
        Case 3:18-cv-00772-SDD-EWD            Document 214       06/23/20 Page 16 of 54




and dangerous. After the meeting, Defendant Clark, the Pledge Educator of Louisiana Beta,

addressed Naquin individually about his conduct with the pledges, and told him that his conduct

was unacceptable. Naquin blew off Defendant Clark and told him that he would do what he

wanted.

        71.    The Individual Defendants were aware of the risks facing Max Gruver and other

pledges, and were aware that Defendant Gott’s conduct with the pledges was dangerous. Upon

information and belief, five days before the September 11, 2017, meeting, on or around

September 6, 2017, Naquin and Defendant Gott, among other fraternity members, had

summoned the pledges to the Phi Delt fraternity house and ordered them to clean and to take

pulls from a 1.75-liter bottle of alcohol. As a result of this compelled, excessive alcohol

consumption, which was primarily instigated by Defendant Gott, at least one pledge lost

consciousness and had to be monitored throughout the night. Upon information and belief, the

Individual Defendants were aware of these circumstances.

        72.    Despite knowing that Naquin’s ongoing actions with the pledges were extreme

and dangerous, the fraternity members, including Defendants Isto, Gott, Hall, Babineaux, Clark,

Comeaux, St. Germain, Laghari, Pennison, and Doe, knowingly and recklessly permitted Naquin

to participate in and direct a significant portion of Bible Study on September 13, 2017.

        73.    Similarly, despite knowing that Defendant Gott’s ongoing actions with the

pledges were dangerous, the fraternity members, including Defendants Isto, Hall, Babineaux,

Clark, Comeaux, St. Germain, Laghari, Pennison, and Doe, knowingly and recklessly permitted

Defendant Gott to participate in and direct a significant portion of Bible Study on September 13,

2017.

        74.    On September 13, 2017, fraternity members hazed the pledges during Bible



                                                16
      Case 3:18-cv-00772-SDD-EWD             Document 214           06/23/20 Page 17 of 54




Study, yelling at them and making them do extreme calisthenics, which included holding wall

sits as members walked across their knees. Upon information and belief, Naquin and Defendant

Gott were two of the most aggressive participants in hazing Max and his fellow pledges during

Bible Study.

       75.     At least two fraternity members became uncomfortable with the hazing and tried,

unsuccessfully, to get Naquin and Defendant Gott to “cut it out” or “slow it down.”

       76.     During Bible Study, Naquin, among other fraternity members and Individual

Defendants herein, ordered Max to take a pull from a bottle of Diesel whenever Max answered

questions about the fraternity or the Greek alphabet incorrectly.

       77.     While most of the pledges were compelled by fraternity members to take three or

four pulls during Bible Study, Max was compelled to take at least 10 to 12 pulls.

       78.     Bible Study ended around 11:30 pm. By that time, Max was incapacitated and in

visible need of emergency medical or other responsible care.

       79.     Defendants Isto, Gott, Hall, Babineaux, Clark, Comeaux, St. Germain, Laghari,

Pennison, and Doe, each:

               a.      participated in, gave material support to, authorized, encouraged,

       permitted and/or failed to prohibit or stop the hazing and misconduct that harmed and

       imperiled Max;

               b.      knew or should have known that Max had been or would be forced to

       consume dangerous amounts of alcohol as a result of the Bible Study hazing ritual;

               c.      knew or should have known that Max had become incapacitated,

       imperiled, and was unable to walk or take care of himself as a result of the compelled

       consumption of alcohol;



                                                17
      Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 18 of 54




               d.     undertook to make and control decisions regarding Max’s care, as well as

       whether reasonable care would be summoned or provided for him, after the hazing

       activities they engaged in had put Max in a position of peril and in need of immediate

       medical care; and

               e.     failed to obtain the medical help for Max, which was obviously required

       under the circumstances, or otherwise act reasonably in monitoring or providing care to

       Max while he was incapacitated, imperiled, and unable to walk or take care of himself.

       80.     Sometime around midnight, Max was placed unconscious on a couch. Due to his

incapacitation, Max was unable to protect himself, and fraternity members were sufficiently

concerned about his condition that they placed a bucket beside him to catch vomit and kept

watch over him for a few hours.

       81.     Despite their initial concern, the fraternity members eventually abandoned Max,

alone and unconscious, on the couch. Hours passed.

       82.     Sometime after 9:00 a.m. on September 14, 2017, fraternity members summoned

some of Max’s pledge brothers to the fraternity house.

       83.     The pledges found Max unresponsive on the couch. They were not sure he was

breathing.

       84.     Max’s pledge brothers wanted to immediately call 911, but they were told not to

call by some of the fraternity members, including Defendant Pennison. Certain fraternity

members, including Defendants Comeaux and Pennison, deliberately decided not to call 911 or

to bring Max to the hospital, and/or instructed other fraternity members not to call 911 or bring

Max to the hospital, because they were worried about the fraternity and its members getting in

trouble for the hazing that put Max in his incapacitated and imperiled condition.



                                                18
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 19 of 54




       85.     Instead, the fraternity members told two of Max’s pledge brothers to take Max to

the hospital and to lie to the hospital staff by telling them they had found Max in his dorm room,

not at the fraternity house.

       86.     Upon information and belief, the further unreasonable delay occasioned by the

fraternity members’ summoning of the pledges and refusal to call 911 gave the fraternity

members time to clean the fraternity house and alter the scene which would later be investigated

by police.

       87.     Max arrived at the emergency room around 11:00 a.m. on September 14, 2017,

where he was pronounced dead. His blood alcohol content was 0.495 when it was measured

during his autopsy one-and-a-half days later. A coroner later determined that Max died from

acute alcohol intoxication with aspiration.

       88.     Had Max received reasonable and proper care when he lost consciousness on the

evening of September 13, 2017, and/or during the hours before he was taken to the hospital in

the late morning of September 14, 2017, an extended period of time during which he was

suffering and slowly succumbing to alcohol poisoning, he would have survived.

       89.     Plaintiffs’ claims against Defendants Isto, Gott, Hall, Babineaux, Clark,

Comeaux, St. Germain, Laghari, Pennison, and Doe are based solely on each of their negligence

in acting, or failing to act, which constituted a legal cause of Max’s injuries and death.

       90.     At all relevant times, Defendants Isto, Gott, Hall, Babineaux, Clark, Comeaux, St.

Germain, Laghari, Pennison, and Doe each knew or should have known that participating in,

giving material support to, authorizing, encouraging, permitting and/or failing to prohibit or stop

the hazing and misconduct that harmed and imperiled Max, as well as the failure of each of them




                                                 19
      Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 20 of 54




to obtain or provide the assistance which would have saved Max’s life, created an unreasonable

and reasonably foreseeable risk of harm, damage and injury to Max.

       91.     Defendants Isto, Gott, Hall, Babineaux, Clark, Comeaux, St. Germain, Laghari,

Pennison, and Doe each knew or should have known that permitting Naquin to participate in

and/or direct the Bible Study ritual, when they knew Naquin’s actions with the pledges during

the pledge process had been extreme and dangerous, created an unreasonable and reasonably

foreseeable risk of harm, damage and injury to Max and the other pledges.

       92.     Similarly, Defendants Isto, Hall, Babineaux, Clark, Comeaux, St. Germain,

Laghari, Pennison, and Doe each knew or should have known that permitting Defendant Gott to

participate in and/or direct the Bible Study ritual, when they knew Defendant Gott’s actions with

the pledges during the pledge process had been dangerous, created an unreasonable and

reasonably foreseeable risk of harm, damage and injury to Max and the other pledges.

       93.     Despite such knowledge, those Defendants did not alter their behavior to avoid

the unreasonable and reasonably foreseeable risk of harm, damage, and injury to Max, and those

Defendants knowingly and recklessly permitted Naquin and Defendant Gott to participate in and

run a significant portion of Bible Study.

                       LSU’s Partnership with and Control of Greek Life

       94.     LSU requires fraternities to register as official student organizations at LSU and

to cooperate with LSU to support the improvement of education in ways that do not interfere

with the administration of the University.

       95.     LSU exercises substantial control over Greek Life by promoting, supporting, and

undertaking other obligations to register and monitor the fraternities, including through an office

of Greek Life utilizing paid staff and volunteers.



                                                 20
      Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 21 of 54




       96.     As part of the substantial control LSU exercises over its registered fraternities,

LSU has the ability and authority to establish rules regarding the recruitment, rush, pledge, and

initiation processes of each of its registered fraternities, including which LSU students are

eligible to pledge a registered fraternity, the permitted length of time for the pledge process for

registered fraternities, and whether registered fraternities are permitted to require prospective

members to complete a pledge process as a prerequisite for admission into the fraternities.

       97.     LSU undertook and exercises direct and ultimate control over the activities and

operations of Phi Delt at LSU under the terms of a ninety-nine year lease agreement with the

fraternity concerning the property on LSU’s campus where Phi Delt’s fraternity house is located.

       98.     The lease gives LSU “the power and authority at all times to make such rules and

regulations and requirements as it may see fit relative to the conduct and activities of people in

[the fraternity house] on the leased premises and to change or alter such rules, regulations and

requirements as it may see fit; and the failure on the part of the Fraternity to conform to said

rules and regulations shall cause this lease to immediately terminate, and in such event the

University shall have the right … to remove any buildings on said leased premises, and the

University shall be the sole judge of the rules and their interpretation and of the conformity or

non-conformity therewith by the Fraternity.”

       99.     Despite such control, LSU disregards the dangerous and deadly activities by Phi

Delt and, year after year, essentially gives this valuable property to the fraternity to support is

operations and their partnership in exchange for a lease payment of $10 per year.

       100.    Upon information and belief, LSU has entered into similar lease agreements with

the other LSU-recognized fraternities that have houses on LSU’s campus. Upon information and




                                                  21
      Case 3:18-cv-00772-SDD-EWD                Document 214     06/23/20 Page 22 of 54




belief, those leases give LSU similar direct and ultimate control over the activities and operations

of those fraternities in their fraternity houses.

        101.    LSU promotes registered fraternities, and the educational benefits and

opportunities they provide, on the LSU website and in written publications provided to students,

prospective students, and parents.

        102.    Among other promotional statements by LSU regarding Greek Life, LSU states:

                a.      “Greek Life transforms lives by supporting and facilitating opportunities

        and experiences within the Greek community to discover, engage, and learn while

        fostering an environment for peer accountability based on fraternal values.”

                b.      “Greek Organizations offer the most successful leadership development

        program for college students, as well as the largest network of volunteers in the US,

        performing millions of hours of volunteer services a year.”

                c.      “LSU Greeks are known for their commitment to philanthropy and

        community service.”

                d.      “With all of the influence, leadership, and power in the following

        statistics, only 2% of the US population are members of Greek organizations. Greeks

        have held key positions in US government and industry including: 85% of US Supreme

        Court Justices, 76% of Senators, 85% of Fortune 500 executives, all but two US

        Presidents since 1825, … 68% of physicians, 72% of lawyers, 70% of US Congressmen.”

                e.      “College can be so much more than just classes and homework, it is a time

        for growth and development. Greek life can foster the education of the whole person:

        intellectually, socially and spiritually.”




                                                     22
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 23 of 54




       103.    In promoting the educational program and benefits of fraternity membership,

which are only available to male students, LSU states as fact only positive, promotional

information to encourage male student participation.

       104.    Upon information and belief, LSU made a conscious decision to withhold from

current, incoming, and prospective male students, and their families, information about severe,

pervasive, and objectively offensive incidents of dangerous hazing and harm, including coerced,

excessive consumption of alcohol, within LSU-recognized fraternities.

       105.    LSU had actual knowledge that Phi Delt had engaged in severe, pervasive, and

objectively offensive hazing, yet it acted with deliberate indifference by excluding this truthful,

accurate information from its promotional materials on Greek Life to leave current, incoming,

and prospective male students and their families ignorant of the known risks.

       106.    Upon information and belief, as a result of long-held, outdated, and archaic

gender stereotypes about men, LSU has a policy and practice of responding with deliberate

indifference to allegations of hazing of male students and aggressively and appropriately to

allegations of hazing of female students in LSU Greek Life.

       107.    As a result of LSU’s policy and practice of responding differently to reports of

hazing involving male students than hazing involving female students, male students seeking

educational opportunities and benefits through LSU Greek Life face a risk of serious injury and

death as a result of hazing not faced by female students seeking those same educational

opportunities and benefits.

       108.    The serious risk of injury and death facing male students seeking educational

opportunities and benefits through LSU Greek Life interferes with male students’ ability to




                                                 23
      Case 3:18-cv-00772-SDD-EWD                Document 214      06/23/20 Page 24 of 54




benefit from and fully participate in the educational programs, activities, and services of LSU

Greek Life as a result of their gender.

       109.    LSU’s policies concerning hazing and alcohol are established by Defendant

Board. Defendant Board defines hazing as follows:

       any intentional, knowing, or reckless act, occurring on or off campus, by one
       person alone or acting with others, that subjects a student to an unreasonable risk
       of physical, mental, emotional or academic harm for reasons related to that
       student's status at the University or for the purpose of pledging, being initiated
       into, affiliating with, holding office in, or maintaining membership in any
       organization whose members are or include students at the University. Hazing
       includes, but is not limited to, any type of physical assault or restraint; placement
       of an undesirable substance on or in the body; any type of physical activity, such
       as sleep deprivation, exposure to the elements, confinement in a small space,
       calisthenics, or other activity that subjects the student to an unreasonable risk of
       harm or that adversely affects the mental or physical health or safety of the
       student; any activity or expectation which is so time consuming as to significantly
       interfere with class work or study time; any activity involving consumption of
       food, liquid, alcoholic beverage, drug, or other substance that subjects the student
       to an unreasonable risk of harm or that is unpleasant; any activity that would
       subject a reasonable person to intimidation, shame, belittlement, humiliation,
       embarrassment or undue mental stress, including, but not limited to personal
       servitude, pranks, assigning or endorsing the wearing of apparel that is
       conspicuous and not normally in good taste, line-ups and verbal abuse; or any
       activity that induces, encourages, causes, or requires the student to engage in an
       activity that involves a violation of law or University policy.

       110.    Defendant Board’s policies provide specific examples of hazing, including

“[a]ctivities or events that facilitate rapid drinking, drinking games, intoxication or impairment”

and “lineups, interrogation or verbal abuse.”

       111.    At all relevant times, LSU developed and administered a Greek Organization

Accountability Process, under which LSU-recognized fraternities, including Phi Delt, and

sororities could elect to participate in a “Partnership Process” with LSU.

       112.    As part of the “Partnership Process” between LSU and Greek letter organizations,

when LSU is notified of an incident involving a fraternity or sorority, or fraternity or sorority

member(s), the allegations are subject to a “chapter internal investigation” conducted of and by

                                                 24
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 25 of 54




the very fraternity or sorority chapter and fraternity or sorority members alleged to have

committed the misconduct.

       113.    Apart from Greek letter organizations, LSU does not empower or permit other

students or recognized student organizations to investigate themselves following allegations of

dangerous and illegal misconduct or violations of LSU rules, policies, or codes of conduct.

       114.    Under the “Partnership Process,” following its internal investigation, the chapter

provides a written report to LSU’s Office of Greek Life and Student Advocacy & Accountability

(“SAA”).

       115.    The chapter, empowered by LSU to investigate itself and its members and to

author the initial report, controls what information is reported to LSU’s Office of Greek Life and

SAA regarding the alleged incident(s) at issue, including the nature of the incident(s), when and

where the incident(s) occurred, who was involved, how the incident(s) occurred, and why the

incident(s) occurred. If the chapter accepts responsibility for the incident(s), no further

investigation is required or undertaken by LSU.

       116.    Through the “Partnership Process,” as matter of policy and practice, Greek letter

organizations are empowered to set and determine the nature and scope of discipline for

themselves and their members for violations of LSU rules, policies, or codes of conduct,

including violations involving hazing and other dangerous and illegal misconduct, and to police

their own compliance with the discipline they decide to impose on themselves and their

members.

       117.    At all relevant times, LSU had actual knowledge that the only way the

“Partnership Process” would function as intended by LSU was if Greek letter organizations and




                                                 25
      Case 3:18-cv-00772-SDD-EWD                 Document 214      06/23/20 Page 26 of 54




their members were willing to come forth and provide LSU with all of the relevant information

they discovered during their internal investigations.

       118.    At all relevant times, LSU also had actual knowledge that the “Partnership

Process” was dependent on a transparent process between the Greek letter organizations and

LSU, with full reports from the Greek letter organizations regarding the alleged incident(s) at

issue, including the who, what, when, where, and why of each alleged incident.

       119.    At all relevant times, LSU had actual knowledge that LSU-recognized sororities

tended to be more compliant and agreeable to the “Partnership Process” rules than LSU-

recognized fraternities.

       120.    At all relevant times, LSU had actual knowledge that LSU-recognized fraternities

frequently lied to LSU administrators about the information they discovered during internal

investigations pursuant to the “Partnership Process,” and that LSU administrators regularly had

to push for more information from the LSU-recognized fraternities empowered by LSU to

investigate themselves.

       121.    Despite this actual knowledge, at all relevant times LSU equally trusted and relied

upon fraternities and sororities to report and provide accurate and thorough information to LSU

regarding alleged hazing violations.

       122.    Under the “Partnership Process,” after the chapter provides its written report to

LSU’s Office of Greek Life and SAA, the chapter’s officers and advisor meet with SAA and

members of LSU’s Office of Greek Life to discuss the information the chapter purportedly

discovered through its internal investigation.

       123.    If the chapter accepts responsibility for the allegations, it prepares a draft

Enhancement Plan which sets forth the actions the chapter has taken or plans to take to address



                                                  26
       Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 27 of 54




the incident(s) at issue. There are no consequences for chapters declining to accept

responsibility. Instead, those chapters are simply required to go through the due process

proceedings required for every other LSU-recognized student organization accused of violating

Board and LSU policies.

                 Known, Pervasive Risks and Culture of Hazing in Fraternities

        124.   Statistics, insurance claims analysis, studies and reports, and incidents of

catastrophic injury and death widely known by the fraternity industry, including Phi Delt,

institutions of higher education, including LSU, and their insurance carriers, have demonstrated

the foreseeable risk of dangerous injury and death from the excessive consumption of alcohol

during pledge and other initiation rituals for decades.

        125.   In the late 1980s, the Fraternity Insurance Purchasing Group (“FIPG”), a

consortium of Greek letter organizations assembled to coordinate risk management strategies and

assist each other in the purchase of insurance, widely published that “fraternities . . . were ranked

by the National Association of Insurance Commissioners as the sixth worst risk for insurance

companies – just behind hazardous waste disposal companies and asbestos contractors.”

        126.   In 1997, the National Interfraternity Council (“NIC”), then comprised of 66 Greek

letter organizations with 5500 chapters on 800 campuses throughout the United States and

Canada, analyzed certain risks associated with Greek letter organizations and housing and

concluded that improper fraternity oversight of alcohol was “frighteningly pervasive.” The NIC

passed a Resolution encouraging “its member fraternities to pursue alcohol-free chapter

facilities.”

        127.   LSU is a partner with United Educators (“UE”) in the prevention and protection

against risk. UE “extensively studies claims trends, legislative issues, and the education



                                                 27
      Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 28 of 54




environment to address evolving liability and risk management issues” and provides its members

comprehensive risk management resources which address the safety, compliance, and liability

risks at schools and on campuses which can lead to claims.

       128.    Upon information and belief, UE has concluded and counsels its members,

including LSU, that hazing is a “problem which jeopardizes the learning environment and poses

serious safety risks to students.”

       129.    As part of its extensive studies, UE analyzed hazing claims from 2003 to 2012

and found:

               a.      more than 80% of the study’s hazing claims involved male perpetrators

       and male victims;

               b.      a parallel 81% of the hazing claims involved acts of violence, most

       commonly forced consumption of alcohol or physical violence; and

               c.      nearly all hazing claims from female students involved non-violent,

       harassment-type hazing, like verbal abuse, forced wearing of humiliating clothing,

       constant monitoring of whereabouts, and personal servitude.

        Known, Pervasive, and Disregarded Risks to Male Students at LSU Fraternities

       130.    In the five years preceding Max’s death, only four of the 27 fraternities on LSU’s

campus were without violations of the Board’s and LSU’s rules, policies, and codes of conduct.

       131.    In the five years preceding Max’s death, there were at least 24 fraternity hazing

investigations by LSU, with 20 findings of policy violations. None of those fraternities had their

charters permanently revoked by LSU; three were suspended for a period of three years.

       132.    During that time period, there were at least six investigations involving

fraternities for forced, excessive consumption of alcohol. None of the fraternities investigated



                                                28
      Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 29 of 54




for allegations that their members forced pledges to consume alcohol had their chapters

permanently revoked by LSU. Sanctions for these violations imposed by LSU mostly are a letter

of reprimand with no loss of privileges or placement on probationary status. Even on

probationary status, fraternities are not required to give up all social events or alcohol.

       133.    In addition to the death of Max, incidents of dangerous hazing, forced

consumption of alcohol, deaths and fraternity injuries involving male fraternity pledges and

members at LSU include:

               a.      2017: Delta Chi Fraternity; hazing activities in the spring of 2017

       including requiring pledges to participate in a “capture game” where pledges capture

       active members, transport them to an undisclosed location, and drop them off, forcing

       them make their way back to school on foot.

               b.      2016: Kappa Sigma Fraternity; hazing of pledges including forced

       consumption of alcohol, sleep deprivation, forced calisthenics, branding, paddling, and

       personal servitude.

               c.      2016: Omega Phi Psi Fraternity; hazing of pledges including an

       “underground” pledging process that LSU found “resulted in the endangering the safety

       and well-being of LSU Students.”

               d.      2015-2016: Lambda Chi Alpha Fraternity; hazing of pledges including

       sleep deprivation, forced consumption of alcohol, personal servitude, and sit-ups and

       push-ups on trash and broken glass (2015). After another report of hazing a year later,

       LSU disallowed recruitment and living in the fraternity house for a year (2016).

               e.      2015: Beta Kappa Gamma Fraternity; LSU student Praneet Karki died

       following an evening of hazing involving extreme exercise required of fraternity pledges.



                                                  29
Case 3:18-cv-00772-SDD-EWD              Document 214      06/23/20 Page 30 of 54




       f.      2015: Sigma Chi Fraternity; after LSU student Sawyer Reed died from a

drug overdose, the investigation revealed likely hazing of pledges and “rampant” drug

use.

       g.      2014: Acacia Fraternity; hazing of pledges including forced alcohol

consumption, personal servitude, acts of physical violence and forced physical activities,

and being forced to eat dog food and rotten substances.

       h.      2014: Lambda Chi Alpha Fraternity; alcohol-related medical transport of

pledge in conjunction with chapter’s bid-day event.

       i.      2014: Sigma Phi Epsilon Fraternity; hazing of pledges including pledges

being driven off campus, forced to consume alcohol, and then the intoxicated pledges

were taken to the Mississippi River levee, dropped off, and told to make their way back

to school on foot in the night. After one fraternity event in August of 2014 where alcohol

was provided to underage pledges, a pledge was found unresponsive in an LSU residence

hall and transported to the hospital.

       j.      2013: Pi Kappa Phi Fraternity; hazing of pledges including quizzes

pledges with consequences for incorrect answers, confining pledges in a small room with

no light and little air, forcing pledges to kneel on broken silverware, personal servitude,

and underage and excessive alcohol consumption.

       k.      2011-2012: Sigma Alpha Epsilon Fraternity; an investigation revealed

hazing and endangering pledges, including hazing that involved forcing pledges to

perform physical activities, military style workouts and calisthenics, such as bows and

tows and wall sits, throughout the night.




                                         30
      Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 31 of 54




               l.      2012: Sigma Chi Fraternity; hazing of pledges including cigarette burns

       and forced wrestling of one another resulting in broken ribs.

               m.      2012: Acacia Fraternity; violations of LSU’s rules and alcohol policies

       arising from an incident in which three kegs of beer were provided for all active members

       and pledges of the fraternity.

               n.      2011: Pi Kappa Phi Fraternity; in the fall of 2011, fraternity placed on

       probation by LSU and fraternity’s national headquarters for what the fraternity later

       acknowledged were “serious incidents of hazing.”

               o.      2011: Sigma Alpha Epsilon; hazing of pledges including forced physical

       activities and personal servitude.

               p.      2006: Phi Gamma Delta Fraternity; pledge burned at fraternity event after

       falling in bonfire.

               q.      1997: Sigma Alpha Epsilon Fraternity; hazing which involved forced,

       excessive consumption of alcohol resulted in the death of fraternity pledge Benjamin

       Wynn, whose blood alcohol content was measured at .588%, almost 6 times the legal

       limit, and the hospitalization of fraternity pledge Donald Hunt.

               r.      1979: Theta Chi Fraternity; a car struck and killed a fraternity pledge who

       was blindfolded and participating in a ritual march along a roadside.

       134.    Upon information and belief, there are additional incidents of dangerous hazing,

resulting in injuries and deaths to male students seeking educational benefits and opportunities

through Greek Life, which are known to LSU but neither publicly disclosed nor made part of the

Greek Life information LSU produces and provides current, incoming, and prospective male

students and their families.



                                                31
      Case 3:18-cv-00772-SDD-EWD                Document 214       06/23/20 Page 32 of 54




        135.    Upon information and belief, sororities at LSU do not have a culture or

documented history of dangerous hazing and misconduct, and female students seeking similar,

valuable educational benefits through membership in LSU-recognized sororities do not face

serious risks of injury or death by hazing or other misconduct.

        136.    Upon information and belief, since 2012, LSU has received only one report of

alleged hazing of female students seeking membership in an LSU-recognized sorority.

        137.    Upon information and belief, the single alleged hazing incident since 2012 at an

LSU-recognized sorority did not involve dangerous or potentially life-threatening activities or

behavior. Instead, upon information and belief, prospective sorority members were required to

recite information about their sorority and its history, act out skits, sing songs, recite poems

taught to them by sorority members and alumnae members in attendance, and perform

calisthenics, including squat holds, sit-ups and lunges, and had whipped cream, syrup and eggs

put in their hair.

        138.    Despite the non-life-threatening conduct at issue in the alleged hazing at the

sorority, LSU punished the sorority with significantly greater severity than, as a matter of policy

and practice, LSU typically punished LSU-recognized fraternities for hazing of male students

involving the risk of severe injury or death.

        139.    Specifically, LSU put the sorority on “Total Probation” – the most severe sanction

LSU can impose upon a student organization, short of rescinding University recognition – for

approximately 10 months, and then “University Probation” for approximately one-year following

the “Total Probation” period. Upon information and belief, LSU also prohibited the sorority

from recruiting and inducting new members for two academic years.




                                                 32
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 33 of 54




       140.    Upon and information and belief, despite the non-life-threatening conduct at issue

in the alleged hazing at the sorority, the sorority was the only Greek letter organization in the

five years preceding Max’s death that was sanctioned with “Total Probation.”

       141.    Upon information and belief, the severity with which LSU responded to the report

of alleged hazing of female students at the sorority was the result of long-held, outdated gender

stereotypes about men which have fostered a policy and practice at LSU of treating the hazing of

male students differently than the hazing of female students. In particular, under LSU’s long-

standing policy and practice, the hazing of females is appropriately treated as unacceptable,

while the hazing of males is minimized as “boys being boys” engaged in masculine rites of

passage.

       142.    Upon information and belief, as a result of these long-held gender stereotypes,

LSU, as a matter of policy and practice, has responded to and punished allegations of dangerous

and life-threatening hazing of male students in Greek letter organizations significantly less

seriously and severely than it has responded and punished non-life-threatening hazing of female

students.

       143.    Further, year after year, LSU has remained deliberately indifferent to the serious

and substantial risks male students face in seeking the educational opportunities and benefits of

LSU Greek Life, and has refused and failed to make any material changes to the manner in

which it recognizes, promotes, regulates, manages, and sanctions fraternities on campus, leaving

them unsafe and imposing serious and substantial risk to male students seeking the educational

benefits and opportunities touted by LSU.

       144.    Year after year, LSU has remained deliberately indifferent to the serious and

substantial risks male students face in seeking the educational opportunities and benefits of LSU



                                                 33
      Case 3:18-cv-00772-SDD-EWD                Document 214      06/23/20 Page 34 of 54




Greek Life, and has decided against advising current, incoming, and prospective male students

and their families of these serious and substantial risks as a means of reforming fraternities or

providing male students with the information necessary to understand the serious and substantial

risks and protect themselves.

       145.    Year after year, LSU has refused and failed to take necessary and effective

corrective action to address the serious and substantial risks faced by male students seeking

educational benefits and opportunities through Greek Life, thereby permitting a hostile

educational environment for male students seeking the educational benefits and opportunities of

Greek Life to exist and persist.

       146.    Year after year, LSU, through its official policy and practice of treating hazing of

male students substantially less seriously and harshly than hazing of female students, has

discriminated against male students seeking the educational opportunities and benefits of Greek

Life touted by LSU, in violation of Title IX.

         Known, Pervasive, and Disregarded Risks and Culture of Hazing in Phi Delt

       147.    Hazing and drinking alcohol in excessive and dangerous amounts have been part

of Phi Delt’s initiation rituals for many years, including at LSU.

       148.    That such dangerous traditions, misconduct, and hazing continue in Phi Delt

unabated, year after year, is the result of Phi Delt’s negligent and wrongful oversight, regulation,

and mismanagement of its chapters, its members’ activities, and the means by which it promotes

its national fraternity and obtains its principal revenue.

       149.    In 2000, Phi Delt implemented alcohol-free housing and has touted (globally, on

the internet, and in paper-form) statistics and extensive information regarding the purported

resultant success in reducing injuries and death.



                                                  34
          Case 3:18-cv-00772-SDD-EWD            Document 214       06/23/20 Page 35 of 54




          150.   In 2010, the then-General Council President of Phi Delt, Scott Mietchen, wrote

about his own “journey from being hazed, to being an enthusiastic hazer” beginning in fall 1980.

Mietchen suggests he helped end the hazing in his chapter after he, as an undergraduate member,

found a pledge in a non-responsive catatonic state after enduring sleep deprivation and emotional

stress.

          151.   Notwithstanding the implementation of an alcohol-free housing policy, Phi Delt

chapters have continued traditions of alcohol abuse and hazing with alcohol – with little to no

meaningful management and oversight by Phi Delt – despite the direct knowledge of the dangers

of hazing by the fraternity’s General Council President.

          152.   Though Phi Delt does not publish its infractions and incidents of hazing, injuries,

and death, publicly available information identifies at least the following instances which

occurred in the few years preceding Max’s death, after Phi Delt publicly purported to ban alcohol

in fraternity housing:

                 a.      2017: hazing including use of alcohol at University of Southern Indiana;

          out of control party with alcohol at Massachusetts Institute of Technology; hazing at

          University of Central Florida; assault and choking resulting in death of a Phi Delt

          member by another during a drunken fight at Indiana University of Pennsylvania;

                 b.      2016: hazing including use of illegal drugs at Middle Tennessee State

          University; hazing, alcohol, and allegations of two students being drugged at a party at

          Washington State University; alcohol violations and sexual assault of a woman who was

          unconscious at a chapter party at Baylor University;

                 c.      2015: hazing at Loyola Marymount University; repeated alcohol

          violations at Oregon State University; hazing including use of alcohol at University of



                                                  35
      Case 3:18-cv-00772-SDD-EWD                Document 214     06/23/20 Page 36 of 54




        Chicago; hazing including use of alcohol at Auburn University;

                d.      2014: hazing including use of alcohol at Oklahoma State University; and

                e.      2013: hazing including use of alcohol at Emory University; hazing at

        Northwestern University.

        Phi Delt and LSU Each Empower and Permit Undergraduate Males to Control
                     the Initiation and Membership Processes at Phi Delt

        153.    Defendants Phi Delt and LSU both establish and otherwise control the processes

and procedures whereby male students become fraternity members through recruitment,

pledging, and initiation, and empower chapter officers to conduct and oversee these processes

and procedures.

        154.    Phi Delt establishes and controls whether its local chapters, including Louisiana

Beta, will be in chapter housing and, in the case of Louisiana Beta, together with LSU and Beta

Housing Corporation, establishes and controls how and by whom that housing and the chapter

are managed.

        155.    In managing and controlling Louisiana Beta and its other chapters and members,

Phi Delt, inter alia, promulgates risk management policies which are applicable to all chapters

and members, and which purportedly prohibit hazing, alcohol in the chapter house, and underage

alcohol consumption.

        156.    Phi Delt and LSU each had, at all times relevant hereto, access to and specialized

knowledge of information, research, campus judiciary proceedings, and other credible

information confirming a staggering number of serious risk management violations, injuries, and

deaths from fraternity, not sorority, activities.

        157.    Fraternity members, many of whom are entirely untrained, often intoxicated, and

influenced by traditions and rituals passed down by fraternity brothers, are empowered, trusted,


                                                    36
      Case 3:18-cv-00772-SDD-EWD               Document 214       06/23/20 Page 37 of 54




and principally relied upon by Phi Delt and LSU to implement their risk-management and anti-

hazing rules and policies, promote the national fraternity and Greek Life at LSU, recruit new

members and revenue for Phi Delt, and make life and death decisions.

       158.    Time and time again, these Defendants have remained deliberately indifferent to

the serious and substantial risks to male students seeking the educational opportunities and

benefits of Greek Life touted by LSU and Phi Delt, and they have failed to act reasonably to

protect life and make recruitment, pledging, initiation, and other fraternity activities safe for male

students. Time and time again, the management structures created and sanctioned by Phi Delt

and LSU have proven ineffective and dangerous for male students.

       159.    Despite such knowledge, Phi Delt and LSU each decided against making any

material changes to the way fraternity activities, recruitment, and pledging at LSU, and at

Louisiana Beta specifically, are conducted in order to render recruitment, pledging, and fraternity

membership safe for male students. Instead, Phi Delt and LSU each continued to promote and

condone a structure of self-management by undergraduate fraternity members, including a policy

self-investigation of alleged dangerous and illegal behavior, and to tolerate dangerous

misconduct despite the long history demonstrating the dangers of these management models and

the need for change.

       Hazing and Misconduct at Louisiana Beta in the Years Prior to the Fall of 2017

       160.    LSU received multiple credible complaints of hazing and forced consumption of

alcohol against Louisiana Beta in the years preceding Max’s death, including in the fall of 2016,

just one year before Max died.

       161.    On September 21, 2013, during a judicial pre-hearing held by LSU’s

Interfraternity Council (“IFC”), it was confirmed that Louisiana Beta’s Recruitment Chairman



                                                 37
      Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 38 of 54




had provided alcohol to underage potential new members during summer recruitment. As a

result of that finding, IFC placed Louisiana Beta on probation through Bid Day of fall 2014.

       162.    Just over a week later, on or around September 29, 2013, the Director of LSU’s

Office of Greek Life notified Louisiana Beta that LSU had received a complaint of hazing in

Louisiana Beta’s new member program. In particular, LSU received information that Louisiana

Beta members were kidnapping pledges, requiring other pledges to rescue them, and compelling

the kidnapped pledges to drink alcohol before they were released. LSU later learned this

“Capture Game” had been in existence since Louisiana Beta was founded, and that the purported

purpose of the hazing activity was to bring about brotherhood through competition.

       163.    In response to this complaint, and despite Louisiana Beta already being on notice

of probation and pursuant to its policy of self-investigation under the “Partnership Process,” LSU

permitted Louisiana Beta to conduct an internal investigation and report back on its findings.

       164.    In its report to LSU, Louisiana Beta admitted that the chapter carried out an

activity during pledging referred to as the “Capture Game,” which included various incidents of

compelling underage pledges to consume alcohol, yet blamed any violations of Louisiana Beta’s

rules arising out of the “Capture Game” on a few “rogue members.”

       165.    Louisiana Beta, LSU’s Office of Greek Life, and SAA then developed a Chapter

Enhancement Plan, pursuant to which Louisiana Beta agreed to discontinue the “Capture Game.”

LSU did not otherwise sanction Louisiana Beta.

       166.    The following semester, in or around March 2014, while Louisiana Beta was still

on probation, LSU received another report of possible violations of LSU’s and Phi Delt’s hazing

policies, including allegations of forced servitude, compelled physical exercise, verbal abuse,




                                                38
      Case 3:18-cv-00772-SDD-EWD              Document 214         06/23/20 Page 39 of 54




scavenger hunts, forced consumption of alcohol by the underage pledges, and coaching pledges

on interactions with the staff of Phi Delt’s national headquarters.

       167.    LSU notified Louisiana Beta and Phi Delt’s national headquarters, including Phi

Delt’s Executive Vice President, of these new hazing allegations and again permitted Louisiana

Beta, through its chapter advisory committee, to investigate itself. It became evident through the

investigation that hazing had continued at Louisiana Beta, including hazing directed by the

chapter’s committee responsible for overseeing Louisiana Beta’s pledge program, and that

Louisiana Beta had not upheld the provision of its Fall 2013 Enhancement Plan requiring the

Chapter to discontinue the “Capture Game.” Louisiana Beta also admitted to LSU that fraternity

members had told pledges not to tell anyone about the hazing.

       168.    As part of a resulting Chapter Enhancement Plan agreed to among Louisiana

Beta, the Chapter’s advisory board, LSU’s Office of Greek Life, and SAA, Louisiana Beta was

placed on probation through May 31, 2015 and required, inter alia, to:

               a.      appoint a new, permanent advisor directly responsible for oversight of the

       Chapter’s new member – or “pledge” – education program;

               b.      restructure its new member program; and

               c.      have at least one member of its Chapter Advisory Board at all new

       member events through the Spring 2015 semester.

       169.    Upon information and belief, Louisiana Beta, without consequence from LSU, did

not comply with or fulfill all of these corrective requirements.

       170.    The hazing and other misconduct and mistreatment of male student pledges by

Louisiana Beta continued.




                                                 39
      Case 3:18-cv-00772-SDD-EWD               Document 214       06/23/20 Page 40 of 54




          171.   In or around January 2016, a “concerned parent” reported to LSU that since LSU

had been back in session, she had witnessed everyday some members of Louisiana Beta smoking

marijuana in and around the house. Upon information and belief, LSU took no action on the

report.

          172.   On October 14, 2016, the Director of LSU’s Office of Greek Life notified

Louisiana Beta of new possible risk management violations based on a report that pledges were:

required to buy chewing tobacco and cigarettes to have to give to fraternity members upon

request; required to be at the Phi Delt fraternity house at LSU every day at 6:00 a.m. and at

tailgates starting at 1:00 a.m. the night before; required to be available to the fraternity members

at any time of the day, except when they were in class, were 24 hours from a test, or had their

parents in town; and called to deliver food and pick up brothers from bars at 3:00 am. According

to the report LSU had received, as a result of these requirements and compelled activities, the

pledges were exhausted all of the time.

          173.   Despite the nature of the allegations, and Louisiana Beta’s history of hazing and

other misconduct and mistreatment of pledges, LSU once again permitted Louisiana Beta to

investigate itself.

          174.   After its internal investigation, Louisiana Beta informed LSU that hazing had, in

fact, occurred at the Chapter in the fall of 2016 but blamed the hazing on four active members of

Louisiana Beta and one alumnus member. Louisiana Beta advised LSU that the four active

members would be placed on social probation. According to the Chapter, it did not have

authority to discipline the alumnus member involved in the hazing.

          175.   While Louisiana Beta was investigating itself in response to the October 14, 2016,

report, LSU learned that the hazing and other misconduct and mistreatment of pledges at



                                                 40
      Case 3:18-cv-00772-SDD-EWD               Document 214        06/23/20 Page 41 of 54




Louisiana Beta might be ongoing, notwithstanding the ongoing investigation and Louisiana

Beta’s notice of the October 14, 2016, report.

        176.    On October 27, 2016, LSU received a report from a “concerned student who has

been witnessing Phi delta theta [sic] hazing during their tailgates to them continuing to harass

them back their house after the tailgate.” The “concerned student” informed LSU that “[m]ost of

the time these young boys are completely intoxicated with obvious signs that they’ve puked

themselves many times. They’re getting initiated tonight as I have heard from them at tailgates

and that they need to ‘get them good’ before they’re initiated. I feel bad for these boys most of

these things are cerntainly [sic] cruel I understand ‘right of passage’ but this is just pure abuse.”

        177.    The Director of LSU’s Office of Greek Life and another Greek Life staff member

met with Louisiana Beta’s Chapter Advisor concerning this new report, but again allowed the

Chapter to conduct an internal investigation into the allegations.

        178.    On November 4, 2016, one day after meeting with Louisiana Beta’s Chapter

Advisor, LSU received yet another report of alleged hazing at Louisiana Beta.

        179.    A parent of an LSU student and alumna of LSU’s Greek Life system wrote to

LSU officials to report disturbing behavior she had witnessed as a Phi Delt tailgate. The parent

wrote, inter alia:

                While at the tailgate the one next to us which I later found out to
                be the phi delta theta tailgate was a complete disgrace to this
                university. As my husband and I are bout LSU Greek alumni I
                found the acts by these boys degrading to the LSU name. We saw
                their pledges sleeping in their own puke behind the bar while
                people were pouring beer and snorting cocaine. I was so
                applauded [sic] by this I asked my son to show me their house and
                unfortunately as we were walking there I saw that the phi delta
                theta house was right next to his. After the tour of his house I was
                cooled down and on the way back we passed a group of men
                talking about and quote “Let’s go mess with that passed out bitch.”
                [P]lease LSU as I love this school and everything here I do not


                                                  41
      Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 42 of 54




               love this. I will be at the game this Saturday and I really do hope
               to see action taken against these so called “men”[.] I know you’ve
               had issues/complaints about them before as my son and his friends
               have told me but it obviously just keeps getting worse. Please do
               something.

       180.    Upon information and belief, LSU did not take any formal action on the

November 4, 2016, report.

       181.    On November 15, 2016, LSU placed Louisiana Beta on interim suspension as a

result of the alleged activities on October 27, 2016.

       182.    On November 18, 2016, the Director of LSU’s Office of Greek Life and another

Greek Life staff member had a conference call with Phi Delt’s Director of Chapter Services and

Phi Delt’s consultant to Louisiana Beta.

       183.    During that conference call, the Director of LSU’s Office of Greek Life discussed

the pattern of similar misconduct at Louisiana Beta over the previous six years, offered to

provide Phi Delt all of the details LSU had regarding that misconduct, and “begged for

assistance” from Phi Delt.

       184.    Upon information and belief, on and after November 18, 2016, LSU knew or

should have known that Phi Delt was not and would not be providing effective oversight or

control over Louisiana Beta and that the hazing and other misconduct would continue without

effective and immediate intervention by LSU.

       185.    Despite this, on December 21, 2016, LSU notified Louisiana Beta and Phi Delt

that the interim suspension LSU had imposed Louisiana Beta had been removed and that

Louisiana Beta could “conduct business and resume normal activities.”

       186.    Further, although LSU had the power and authority under its lease with Beta

House Corporation to establish rules, regulations, and requirements relative to the conduct and

activities of people in Phi Delt’s fraternity house at LSU, and to immediately terminate the lease

                                                 42
      Case 3:18-cv-00772-SDD-EWD             Document 214       06/23/20 Page 43 of 54




for violations by Phi Delt of those rules, regulations, and requirements, LSU continued to permit

Phi Delt and its members to possess and operate out of the Phi Delt fraternity house despite their

ongoing misconduct in the years preceding Max’s death.

       187.    LSU also decided against publicly conveying the information about credible

complaints of hazing and forced alcohol consumption against Phi Delt in the fall of 2016 or prior

years as part of the glowing promotional package and information it gave to students and

families, including Max and his family who attended orientation and researched and relied on all

of the information made available by LSU about the Greek letter fraternity system before he

chose to pledge Phi Delt because of its purported values.

  The Beta House Corporation Knew or Should Have Known Pledges Would Be Hazed and
    Compelled to Consume Alcohol at the Phi Delt Fraternity House in the Fall of 2017

       188.    At all relevant times, Beta House Corporation was governed by a board of

directors comprised of individuals who were Phi Delt members, alumni of LSU, and alumni

members of Louisiana Beta who, upon information and belief, had themselves been subjected to

and engaged in hazing as pledges and members of the fraternity at the Phi Delt fraternity house

at LSU.

       189.    At all relevant times, the members of the board of directors of Beta House

Corporation also had specialized knowledge of violations of Phi Delt’s, Louisiana Beta’s, and

the Beta House Corporation’s risk and house management policies, state laws, and Board and

LSU rules, policies, and codes of conduct prohibiting underage drinking and hazing at the Phi

Delt fraternity house at LSU.

       190.    At all relevant times, Beta House Corporation also had available to it,

independently and through Phi Delt, possessed, or in the absence of recklessness, should have




                                                43
      Case 3:18-cv-00772-SDD-EWD              Document 214       06/23/20 Page 44 of 54




itself performed or commissioned, information and analyses about the risks of hazing and

student-housing management, particularly regarding bid, pledge, and initiation-related activities.

       191.    At all relevant times, as a result of their specialized knowledge and their

experiences as fraternity members and pledges, the members of the board of directors of Beta

House Corporation knew or should have known that Beta House Corporation’s risk management

and student-housing management policies were not working, and that it was reasonably

foreseeable that hazing, including hazing which involved compelling underage male students to

consume dangerous amounts of alcohol, would take place at the Phi Delt fraternity house at LSU

in the fall of 2017 unless meaningful changes were made to those policies.

       192.    Upon information and belief, Beta House Corporation did not make any

meaningful changes to its risk management or student-housing management policies in the fall of

2017 or in the years preceding Max’s death.

       193.    Upon information and belief, as a result of their specialized knowledge and their

experiences as fraternity members and pledges, in at least certain years before Max’s death the

Beta House Corporation undertook to employ “House Directors” who, in exchange for a modest

annual salary and free lodging in the Phi Delt fraternity house at LSU, together with Louisiana

Beta and members of Louisiana Beta, would be responsible for enforcing the risk management

policies of Defendants Phi Delt, Louisiana Beta, and Beta House Corporation within the Phi Delt

fraternity house at LSU, and for reporting risk management and policy violations to those

Defendants. Upon information and belief, “House Directors” employed by the Beta House

Corporation were not trained or were inadequately trained on the risk management policies they

were made responsible to enforce.




                                                44
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 45 of 54




       194.    In addition, Beta House Corporation knew or should have known that LSU

required student organizations that provided student housing for its members each to employ a

“House Director,” that Louisiana Beta would make representations to LSU regarding the

employment and presence of “House Directors” at the Phi Delt fraternity house at LSU, and that

LSU would rely upon those representations in deciding whether to recognize Louisiana Beta as a

registered student organization at LSU, even if it were not reasonable for LSU to do so.

       195.    Upon information and belief, as a result of their specialized knowledge and their

experiences as fraternity members and pledges, members of the board of directors of Beta House

Corporation knew or should have known that the employment of adequately trained live-in

“House Directors” at the Phi Delt fraternity house at LSU was necessary for the protection of

fraternity pledges, like Max, during pledging activities and rituals at the Phi Delt fraternity house

at LSU.

       196.    Upon information and belief, despite such knowledge, Beta House Corporation

failed to exercise reasonable care and employ an adequately trained “House Director” for the fall

of 2017, when Max was pledging Phi Delt and Louisiana Beta, or otherwise ensure that an

adequately trained “House Director” would be living in the Phi Delt fraternity house at LSU in

the fall of 2017 to help to enforce the risk management policies of Defendants Phi Delt,

Louisiana Beta, and Beta House Corporation, to report risk management and policy violations to

those Defendants in the fall of 2017, or to come to the aid of pledges at the fraternity house at

LSU who, like Max, had become incapacitated, imperiled, and were unable to take care of

themselves as a result of the compelled consumption of alcohol.




                                                 45
       Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 46 of 54




                                             COUNT I
                          Violation of Title IX, 20 U.S.C. § 1681, et seq.
                                       (Defendant Board)

        197.     Plaintiffs incorporate all preceding paragraphs into this Count by reference as

though fully restated herein.

        198.     At all relevant times, LSU, through its employees and administrators responsible

for overseeing the Greek letter fraternity system at LSU, including the Office of the Dean of

Students of LSU which oversees the Division of Student Affairs and Office of Greek Life,

exercised substantial control over its registered fraternities in the Greek letter fraternity system,

including Phi Delt, and the recruitment, pledging, and initiation activities of its registered

fraternities.

        199.     For many years, LSU, through its employees and administrators responsible for

overseeing the Greek letter fraternity system at LSU, had actual knowledge of serious and

substantial risks facing male students seeking to access the educational opportunities and benefits

LSU provided through Greek Life, as a result of dangerous, repeated misconduct, including

hazing involving, among other things, compelled, excessive alcohol consumption, within and

exclusive to the Greek letter fraternity system, prior to Max pledging Phi Delt, the hazing of

Max, and his death.

        200.     LSU, through its employees and administrators responsible for overseeing the

Greek letter fraternity system at LSU, had actual knowledge of dangerous, repeated misconduct,

including hazing of male students involving, among other things, compelled, excessive alcohol

consumption, by Phi Delt and its members prior to Max pledging Phi Delt, the hazing of Max,

and his death.

        201.     Upon information and belief, LSU, through its employees and administrators

responsible for overseeing the Greek letter fraternity system at LSU, responds with deliberate

                                                  46
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 47 of 54




indifference to allegations of hazing of male students seeking educational benefits and

opportunities through LSU Greek Life, including male students pledging Phi Delt, because of

long-held and outdated gender stereotypes about young men.

       202.    Upon information and belief, because of those long-held and outdated gender

stereotypes about young men, LSU, through its employees and administrators responsible for

overseeing the Greek letter fraternity system at LSU, has a policy and practice of treating the

hazing of male students significantly less seriously than the hazing of female students,

minimizing the hazing of males as “boys being boys” engaged in masculine rites of passage.

       203.    Through its policy and practice, LSU has persisted in a systematic, intentional,

differential treatment of male students seeking educational opportunities and benefits through

LSU Greek Life and, therefore, has discriminated against male students in violation of Title IX.

       204.    As a result of LSU’s policy and practice of treating the hazing of male students

significantly less seriously than the hazing of female students, male students seeking to access

the educational opportunities and benefits LSU provided through Greek Life face serious and

substantial risks of injury and death as a result of hazing involving, among other things,

compelled, excessive alcohol consumption, while female students seeking similar educational

benefits and opportunities did not face the same serious or substantial risks.

       205.    Further, LSU, through its employees and administrators responsible for

overseeing the Greek letter fraternity system at LSU, permitted, supported, promoted and

provided funding for a Greek letter fraternity system that, without proper oversight, encouraged

young men to engage in hazing, harassment and violence against male students seeking

educational opportunities and benefits through Greek Life.




                                                 47
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 48 of 54




       206.    LSU failed to provide adequate training or guidance to its employees and

administrators responsible for overseeing the Greek letter fraternity system at LSU, even though

LSU was on actual notice that such training and guidance were necessary to implement proper

controls over the Greek Life fraternity system and to prevent and discourage hazing against male

students seeking educational opportunities and benefits through LSU Greek Life.

       207.    By its discriminatory policy and practice of treating hazing of male students

significantly less seriously than hazing of female students, and its deliberate indifference,

through conscious and reckless actions and inactions, LSU created a discriminatory, hostile

environment in which hazing against male students seeking educational opportunities and

benefits through LSU Greek Life was pervasive and posed serious risks of injury and death to

those male students, including Max.

       208.    LSU, through its employees and administrators responsible for overseeing the

Greek letter fraternity system at LSU, had the authority to directly investigate and take

meaningful corrective action to end the hazing threatening male students within LSU Greek Life,

and to provide male students equal access to those educational benefits and opportunities without

facing serious risks of injury and death. Despite this, LSU consciously, recklessly, and

deliberately failed to do so.

       209.    LSU, through its employees and administrators responsible for overseeing the

Greek letter fraternity system at LSU, had the authority to directly investigate and take

meaningful corrective action to end the hazing threatening male students within LSU Greek Life,

and to provide male students equal access to these educational opportunities and benefits without

facing serious risks of injury and death, but instead, upon information and belief, as a matter of

policy and practice, remained deliberately indifferent to the severe and pervasive risks of serious



                                                 48
      Case 3:18-cv-00772-SDD-EWD                Document 214        06/23/20 Page 49 of 54




injury and death faced by male students, and treated hazing of males significantly less seriously

than hazing of females, thereby permitting hazing of males in LSU Greek Life to exist and

persist.

           210.   Through its official policy and practice of remaining deliberately indifferent to the

severe and pervasive risks of serious injury and death faced by male students, including Max,

attempting to access the educational opportunities and benefits provided through LSU Greek

Life, and of treating hazing of males significantly less seriously than hazing of females, LSU

discriminated against male students, including Max, in violation of the requirements of Title IX.

           211.   As a direct and proximate result of this discrimination, Max was denied access to

the educational opportunities and benefits provided through LSU Greek Life free from the risk of

serious injury and death from hazing, and he was subjected to hazing which resulted in his death.

           212.   Furthermore, LSU, through the Office of the Dean of Students of LSU, made an

affirmative, official institutional decision to implement a “Partnership Process” policy between

LSU and Greek letter fraternity organizations which allowed Greek letter fraternity organizations

and their members accused of hazing or other misconduct to conduct internal investigations of

their own alleged wrongdoing.

           213.   The official “Partnership Process” policy was so deficient at addressing hazing of

male students at Greek letter fraternity organizations at LSU that it constituted encouragement of

the hazing of male students seeking educational opportunities and benefits through LSU Greek

Life, was clearly unreasonable in light of the known circumstances, and amounted to deliberate

indifference to the hazing of male students at LSU.




                                                   49
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 50 of 54




       214.    Max suffered egregious hazing, intimidation and, ultimately, death, as he sought

educational opportunities and benefits through LSU Greek Life in circumstances not faced by

female students seeking the same educational opportunities and benefits.

       215.    As a direct and proximate result of LSU’s discriminatory actions, inactions,

policies and practices, and deliberate indifference, in violation of the requirements of Title IX,

Max was hazed and endured great physical and mental pain and suffering until he died.

       216.    Plaintiffs assert this Title IX claim against LSU, which survives Max’s death

under federal common law, on Max’s behalf.

                                       COUNT II
                              Survival and Wrongful Death
    Negligence/Breach of Assumed Duties/Failure to Rescue Under Louisiana State Law
                     (Individual Defendants and Defendant Allstate)

       217.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

though fully restated herein.

       218.    The Individual Defendants had a general duty to act in a reasonable fashion so as

to avoid harming others, including to refrain from participating in, giving material support to,

authorizing, encouraging, permitting and/or failing to prohibit or stop hazing and other

misconduct involving Max and other Phi Delt pledges, which the Individual Defendants knew or

should have known created an unreasonable and reasonably foreseeable risk of harm, damage,

and injury to Max and his fellow pledges.

       219.    Further, by voluntarily assuming the responsibilities of Executive Board members

of Louisiana Beta, Defendants Babineaux, Clark, Comeaux, St. Germain, and Laghari had a duty

to abide by, enforce, and uphold Phi Delt’s and Louisiana Beta’s purported prohibitions on

hazing, misuse and abuse of alcohol, and other related misconduct, including Phi Delt’s Risk




                                                 50
        Case 3:18-cv-00772-SDD-EWD             Document 214        06/23/20 Page 51 of 54




Management Policies, by preventing the misuse of alcohol in fraternity activities and at the

fraternity house, and by preventing and not engaging in the hazing of pledges, like Max.

        220.   In addition, through their conduct and actions as alleged herein, the Individual

Defendants directly undertook, or negligently entrusted others, to care for Max and to render

services which were reasonably calculated to prevent Max’s injuries and death. The Individual

Defendants thereby assumed the duty to reasonably care for Max.

        221.   The Individual Defendants were present for, encouraged, assisted, provided

material support for, permitted, willfully participated in, and/or failed to prohibit or stop the

hazing and other misconduct which placed Max in a perilous position, rendering him helpless

and in need of emergency care and/or other responsible care and rescue.

        222.   At all relevant times, the Individual Defendants knew or should have known that

participating in, giving material support to, authorizing, encouraging, permitting, and/or failing

to prohibit or stop the hazing and misconduct which harmed and imperiled Max, as well as their

failure to obtain or provide the assistance which would have saved Max’s life, created an

unreasonable and reasonably foreseeable risk of harm, damage, and injury to Max. Despite such

knowledge, the Individual Defendants did not alter their behavior to avoid the unreasonable and

reasonably foreseeable risk of harm, damage, and injury to Max.

        223.   The individual Defendants breached these duties, and were negligent, by, inter

alia:

               a.      participating in, giving material support to, authorizing, encouraging,

        permitting, and/or failing to prohibit or stop the hazing and misconduct which harmed

        and imperiled Max;

               b.      permitting Naquin to participate in and direct a significant portion of Bible



                                                  51
Case 3:18-cv-00772-SDD-EWD             Document 214       06/23/20 Page 52 of 54




Study on September 13, 2017, despite knowing that Naquin’s ongoing actions with the

pledges were extreme and dangerous;

       c.      permitting Defendant Gott to participate in and direct a significant portion

of Bible Study on September 13, 2017, despite knowing that Defendant Gott’s ongoing

actions with the pledges were dangerous;

       d.      failing to abide by, enforce, and uphold Phi Delt’s and Louisiana Beta’s

purported prohibitions on hazing, misuse and abuse of alcohol, and other related

misconduct, including Phi Delt’s Risk Management Policies, including by failing to

prevent the misuse of alcohol in fraternity activities and at the fraternity house and the

hazing of pledges, including Max;

       e.      failing to procure or provide Max appropriate medical and other care after

it became clear he was incapacitated, grossly intoxicated, imperiled, in need of medical or

other reasonable attention and rescue, and unable to care for or protect himself;

       f.      abandoning Max on a couch in the fraternity house without getting him

reasonable assistance or medical care and attention;

       g.      unreasonably failing to call to 911 or other emergency personnel, or to

directly rescue Max;

       h.      relegating life and death decisions concerning Max to immature,

untrained, unqualified individuals, some of whom were intoxicated and had been

subjected to and/or participated in rituals involving hazing in the past;

       i.      preventing others from obtaining the medical and reasonable care Max

needed under the circumstances by, among other ways, discouraging pledges from calling

911, and placing him on a couch in the fraternity house in an apparent sleeping position



                                         52
      Case 3:18-cv-00772-SDD-EWD              Document 214        06/23/20 Page 53 of 54




       where his need for immediate medical care and rescue would neither be detected nor

       responded to; and

               j.      were otherwise negligent.

       224.    Defendant Allstate, as an insurer for Defendant Isto, is liable to Plaintiffs jointly

and in solido for Defendant Isto’s negligent acts and omissions as alleged herein pursuant to the

Louisiana Direct Action Statute, La. Rev. Stat. § 22:1269.

       225.    As a direct and proximate result of these Defendants’ breach of their duties and

assumed duties, Max was hazed and endured great physical and mental pain and suffering until

he died, and his surviving parents have suffered and will suffer grief, loss of love, affection,

companionship, comfort, services, and support, and have incurred funeral and burial expenses,

for which they are entitled to be compensated.

                                          JURY DEMAND

       Plaintiffs demand trial by jury.

                                     PRAYER FOR RELIEF

       Plaintiffs, Stephen M. Gruver and Rae Ann Gruver, individually and on behalf of their

son, Maxwell R. Gruver, deceased, respectfully pray the Court for judgment against Defendants,

jointly and severally, for an amount of no less than $25,000,000, together with legal interest, an

award of reasonable attorneys’ fees and costs against LSU, pursuant to 42 U.S.C. § 1988(b), and

such other relief as the Court may deem just and proper under the circumstances.


Dated: June 4, 2020                                   Respectfully submitted,

                                                      /s/ Jonathon N. Fazzola
                                                      THE FIERBERG NATIONAL
                                                      LAW GROUP, PLLC
                                                      Douglas E. Fierberg – Lead Attorney*
                                                      Jonathon N. Fazzola*


                                                 53
Case 3:18-cv-00772-SDD-EWD   Document 214     06/23/20 Page 54 of 54




                                   Lisa N. Cloutier*
                                   161 East Front Street, Suite 200
                                   Traverse City, MI 49684
                                   Telephone: (231) 933-0180
                                   Facsimile: (231) 252-8100
                                   Email: dfierberg@tfnlgroup.com
                                   Email: jfazzola@tfnlgroup.com
                                   Email: lcloutier@tfnlgroup.com
                                   *Admitted Pro Hac Vice

                                   /s/ J. Lane Ewing, Jr.
                                   CAZAYOUX EWING LAW FIRM
                                   Donald J. Cazayoux, Jr. (LBN 20742)
                                   J. Lane Ewing, Jr. (LBN 29854)
                                   257 Maximilian Street
                                   Baton Rouge, LA 70802
                                   Telephone: (225) 650-7400
                                   Facsimile: (225) 650-7401
                                   Email: don@cazayouxewing.com
                                   Email: lane@cazayouxewing.com

                                   Attorneys for Plaintiffs Stephen M. Gruver
                                   and Rae Ann Gruver, individually and on
                                   behalf of Maxwell R. Gruver, deceaseds




                              54
